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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )
                                                  )
 vs.                                              )       No. 93-cr-40050-002-JPG
                                                  )
 DAVID REED,                                      )
                                                  )
        Defendant.                                )

                                MEMORANDUM AND ORDER

        This matter comes before the Court on defendant David Reed’s pro se motion for a

 reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

 Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.10 (Doc. 166). The Court appointed counsel

 for the defendant, and counsel has moved to withdraw on the basis that she can make no non-

 frivolous arguments in support of the defendant’s request (Doc. 172). See Anders v. California,

 386 U.S. 738, 744 (1967). Neither the government nor the defendant has filed a response,

 although they were given an opportunity to do so.

        Reed was convicted by a jury of one count of conspiracy to distribute and possess with

 intent to distribute crack cocaine and one count of retaliation against a government witness. At

 sentencing, the Court found by a preponderance of the evidence that Reed’s relevant conduct

 with respect to the conspiracy count was at least 3,000 kilograms of marihuana equivalency units

 (“MEUs”) but less than 10,000 kilograms of MEUs, which at the time under U.S.S.G. § 2D1.1

 yielded a base offense level of 34. His offense level was increased by two levels under U.S.S.G.

 § 3C1.1 for obstruction of justice, yielding a total offense level of 36. The Court further found

 that Reed was a career offender under U.S.S.G. § 4B1.1 based on prior drug or violent felony

 convictions, which raised his base offense level to 37. Considering Reed’s criminal history
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 category of VI, established by his career offender status under U.S.S.G. § 4B1.1, this yielded a

 sentencing range of 360 months to life in prison. The Court imposed a sentence of 420 months

 on the conspiracy count. Reed now asks the Court to apply recent changes to U.S.S.G. § 2D1.1

 to lower his sentence on that count.

        Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

 where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

 range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

 994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

 must ensure that any reduction “is consistent with applicable policy statements issued by the

 Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

 reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

 have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

 with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

 satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

 request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

 Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009).

        Reed cannot satisfy the first criterion because he was not “sentenced to a term of

 imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

 Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

 amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

 levels associated with various amounts of crack cocaine. Amendment 715, effective May 1, 2008,

 further amended the commentary to U.S.S.G. § 2D1.1 by revising the manner in which offense



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 levels are determined in cases involving crack cocaine in combination with other controlled

 substances. The Sentencing Commission amended U.S.S.G. § 2D1.1(c) intending to alter the

 disparity in sentences involving crack cocaine and sentences involving powder cocaine. Reed,

 however, was sentenced based on his base offense level set forth in U.S.S.G. § 4B1.1, not his

 base offense level set forth in U.S.S.G. § 2D1.1. See Forman, 553 F.3d at 589-90. Thus, his

 guideline range has not been lowered, and he cannot satisfy the first criterion under 18 U.S.C. §

 3582(c)(2) for obtaining a sentence reduction.

        Because Reed cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining

 a sentence reduction, the Court does not have subject matter jurisdiction to consider his

 reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

 therefore GRANTS counsel’s motion to withdraw (Doc. 172) and DISMISSES Reed’s motion

 for a sentence reduction (Doc. 166) for lack of jurisdiction.

        The Clerk of the U.S. District Court is hereby DIRECTED to mail a copy of this order to

 defendant David Reed, Reg. No. 02897-025, FCI El Reno, P.O. Box 1500, El Reno, OK 73036.

 IT IS SO ORDERED.
 DATED: April 21, 2010.


                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               U.S. DISTRICT JUDGE




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